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` " ~-»- " ..:.
IN THE UNITED STATES DISTRICT COURT

FoR THE wEsTERN DISTRICT oF TENNESSE§5 JLW 13 gm g ;, 32

 

WESTERN DIVISION
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GREEAR TREW )
)
PLAINTIFF, )
)
v. ) DOCKET NO. 04-2] 63-BP
)
AMERICAN INSTlTUTE OF )
INTRADERMAL COSMETICS, INC. ) JURY DEMANDED
and CLARIANT CORPORATION, )
)
DEFENDANTS. )

 

-M ORDER GRANTING CONSENT MOTION TO ENTER AMENDED
SCHEDULING ()RDER

 

Pursuant to the Consent Motion to Enter Arnended Scheduling Order filed by Clinton H.
Scott as attorney for the Plaintiff`, Greear Trew, this Court finds that the Motion is Well taken and
should be granted

IT lS, THEREFORE, ORDERED, ADJUDGED, AND DECREED that the Consent Motion
to Enter Amended Scheduling Order is granted, setting aside the scheduling order now in effect.

lT lS, FURTHER, ORDERED, ADJUDGED, AND DECREED that counsel for the parties
shall submit an amended scheduling order by agreement to be ratified by the Court and entered in
this matter.

lT IS, FURTHER, ORDERED, ADJUDGED, AND DECREED that the trial previously set

for l\/larch 6, 2006 will be reset by the Court.

 

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IT lS SO ORDERED this [£ U 6b day of , 2005.

 

 

u.@mcr CoUR'r JUDGE

   

UNTED STATES DISTRCT COURT - WESTNERDISTCRIT oFTNNEESSEE

Notice of Distribution

This notice confirms a copy of` the document docketed as number 92 in
case 2:04-CV-02163 Was distributed by f`aX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

LeWis L. Cobb

SPRAGINS BARNETT COBB & BUTLER
312 East Lafayette St.

.lacl<son7 TN 38302--200

Clinton H. Scott

SPRAGINS BARNETT COBB & BUTLER
312 East Lafayette St.

.lacl<son7 TN 38302--200

.l ames Brandon MoWherter

SPRAGINS BARNETT COBB & BUTLER
P.O. Box 2004

.lacl<son7 TN 38302--200

DeWitt 1\/1. Shy

BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Jennifer Shorb Hagerman
BURCH PORTER & JOHNSON
130 N. Court Avenue

1\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

